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_______________________________________________________________________________
February 1, 2018

Hon. Louis A. Scarcella
United States Bankruptcy Court
Eastern District of New York
Alfonse M. D'Amato Federal Courthouse
290 Federal Plaza
Central Islip, New York 11722

Re: Adversary Proceeding No. 8−15−08163−las Michaels Electrical Supply Corp. v Javier
Castagnola

Dear Judge Scarcella:

        As you may recall, I am the attorney representing Michaels Electrical Supply Corp in the above
referenced action. First, I would like to apologize for not having attended the last scheduled conference. I
had made a scheduling error in my calendar. I know that that is a poor excuse and the court’s time is
valuable; I will endeavor not to make a similar mistake again.
        At our last hearing, a discovery conference, I raised the issue of opposing counsel not providing
initial disclosures or returning my calls regarding the status of said disclosures. The night prior to that
hearing, at about 7:00 pm, opposing counsel provided initial disclosures that merely identified his
(Lawrence Katz) own office address. This did not strike me as a good faith adherence to the procedure
and was of course very late. Consequently you opted to amend our discovery schedule. At the time I
declined to ask for any sanctions, despite my concern that this was a continuation of a pattern and practice
of delay and being generally uncooperative, done seemingly with intent and in bad faith. Nevertheless, it
seemed to me sanctions would not achieve my goal of moving the case forward.
        I am distressed to report that discovery has not occurred. I made demands for documents to
opposing counsel but have been met with silence. There has not been any response. Additionally, I have
called opposing counsel in an effort to resolve the issue or find out what exactly his intentions were, but
my calls went unanswered and my voicemails were not returned.
        As we have a hearing next week, I wanted to update the court on the lack of forward progress that
has occurred during this supposed discovery phase, which at this time appears to be my opposing
counsel’s entire strategy of delay, ignore, and otherwise remain disengaged from this action so long as the
court will permit. Consequently, it is difficult for me to imagine how this matter is supposed to move
forward in any sort of timely fashion. I would ask this court to compel my opposing counsel to respond to
my discovery demands and grant me additional time to review the documents and engage in additional
discovery that may stem from the documentation and information I have properly demanded from Mr.
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Castagnola and his counsel.
        Finally, I know at each of our hearings you have expressed your desire that we do what we can to
achieve a settlement in this matter. For that reason I will reiterate that as of the writing of this letter, I
remain open to discussing settlement with opposing counsel, but have difficulty imagining an amicable
resolution at this time. Thank you for your time and attention to this matter.



                                                  Sincerely,

                                                  __/TLL/________________________
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